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                                                    June 29, 2023



VIA ECF
Hon. Lorna G. Schofield
Thurgood Marshall United States Courthouse
40 Foley Square New York
New York, NY 10007

               Re: N.L. et al v. New York City Dep’t of Educ., 21-cv-11215 (LGS)(SN)

Dear Judge Schofield:

         I am a Special Assistant Corporation Counsel in the office of Corporation Counsel, Hon.
Sylvia O. Hinds-Radix, attorney for Defendant in the above-referenced action, wherein Plaintiff
seeks attorneys’ fees, costs and expenses for legal work on an administrative hearing under the
Individuals with Disabilities Education Act, 20 U.S.C. §1400, et seq. (“IDEA”), as well as for
this action.

        I write in this remanded appeal (Cir. Docket No. 23-627) on behalf of both parties in
accordance with the Court’s June 22, 2023 Order (ECF No. 55) to advise the Court of the parties’
respective positions following the recent decision by the Second Circuit Court of Appeals in the
16 in tandem appeals docketed under H.C. v. N.Y.C. Dep’t of Educ., U.S. App. LEXIS 15471 (2d
Cir. Jun. 21, 2023). A copy of that decision is attached for the Court’s convenience.

        The parties respectfully note that this matter has been “remanded for further proceedings
in the district court,” and that Your Honor is to issue a “final judgment in the remanded appeal.”
ECF Nos. 53-54. Once that judgment has been entered, either party may seek further appellate
review. Plaintiffs have indicated the intention to do so. The parties respectfully submit that
reconsideration of the Court’s prior judgment is unnecessary.

       Thank you for considering this submission.
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                                         Respectfully submitted,
                                                 /s/________________
                                         Martha Nimmer
                                         Special Assistant Corporation Counsel
cc: Benjamin Kopp, Esq. (via ECF)
